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U.S. MAGISTRATE JUDGE CHERYL L. POLLAK                   DATE:   i/cX'7 I          IJ?
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                                                           FTR: 3:10 - 3:29 p.m.

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CASE:   __W__�_  --...;
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        INITIAL CONFERENCE                 --
                                                OTHER/STATUS CONFERENCE

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        DISCOVERY CONFERENCE               --
                                                FINAL/PRETRIAL CONFERENCE

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        SETTLEMENT CONFERENCE              X
                                           --
                                                TELEPHONE CONFERENCE

--
        MOTION HEARING                     --
                                                ORAL ARGUMENT


MANDATORY DISCLOSURE :


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        COMPLETED                        -----
                                                 DATE TO BE COMPLETED BY




FOR PLAINTIFF:      Gabriel P. Harvis      Fred B. Lichtmacher
                    Baree N. Fett          LAW OFFICE OF FRED LICHTMACHER P.C.
                    HARVIS & FETT LLP

FOR DEFENDANT:
                    Kavin S. Thadani
                    NEW YORK CITY LAW DEPARTMENT


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        DISCOVERY TO BE COMPLETED BY      ------




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  X     NEXT CONFERENCE SCHEDULED                                                   (phone)




RULINGS:
